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                 THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                          Tallahassee Division


 AUGUST DEKKER, et al.,

                     Plaintiffs,

               v.                               No. 4:22-cv-00325-RH-MAF

 JASON WEIDA, et al.,

                     Defendants.


    PLAINTIFFS’ MOTION TO ENFORCE THE COURT’S JUDGMENT
    OR, ALTERNATIVELY, TO CLARIFY THE COURT’S JUDGMENT

      Plaintiffs hereby respectfully move this Court to enforce its Judgment [Dkt.

No. 247] that resulted from the Findings of Fact and Conclusions of Law [Dkt. No.

246] or, in the alternative, to clarify its Judgment. Defendants are defying the plain

language of this Court’s Judgment by continuing to categorically enforce Rule 59G-

1.050(7) of the Florida Administrative Code (the “Rule” or the “Challenged

Exclusion”). As such, and for the reasons stated in the memorandum that follows,

Plaintiffs respectfully ask this Court to grant their motion and enforce the Judgment

by instructing Defendants that the Court’s declaratory relief prevents them from

enforcing the Challenged Exclusion, and by issuing any other remedial relief it

believes appropriate. In the alternative, Plaintiffs respectfully request that this Court

clarify its Judgment to make clear that the Rule, as adopted, is unlawful, or grant

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broader injunctive relief preventing Defendants from enforcing the Challenged

Exclusion.

                          MEMORANDUM OF LAW

                                INTRODUCTION

      One year after this case was filed and months after this Court declared that

“Florida Statutes § 286.31(2) and Florida Administrative Code rule 59G-1.050(7)

are invalid to the extent they categorically ban Medicaid payment for puberty

blockers and cross-sex hormones for the treatment of gender dysphoria,” Dkt. No.

246 at 53, Defendants continue to apply and enforce the Rule as if the proceedings,

trial, and the Court’s ruling in this case never happened. But, as this Court

emphasized in its June 21, 2023 decision, Florida state officials cannot categorically

ban Medicaid coverage of puberty-delaying medications and gender-affirming

hormones for the treatment of gender dysphoria, as doing so unlawfully

discriminates against transgender Medicaid beneficiaries in violation of the

Fourteenth Amendment’s Equal Protection Clause and Section 1557 of the

Affordable Care Act and also violates the Medicaid Act.

      In complete defiance of the Judgment, Defendants continue to enforce and

apply the Rule this Court declared invalid. They have done so by (i) categorically

denying coverage to transgender Medicaid beneficiaries for gender-affirming

hormones, (ii) instructing managed care organizations (MCOs) to deny coverage and


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fining them for not abiding by the Challenged Exclusion’s categorical exclusions of

gender-affirming medical treatment, and (iii) seeking recoupment from providers for

funds paid by MCOs for the provision of gender-affirming medical treatment to

transgender Medicaid beneficiaries. This, despite that this Court declared the

Challenged Exclusion “invalid to the extent [it] categorically ban[s] Medicaid

payment for puberty blockers and cross-sex hormones for the treatment of gender

dysphoria.” Dkt. No. 246 at 53.

      Defendants are not free to disregard this Court’s decisions and orders even if

they have taken an appeal. Neither this Court nor the Eleventh Circuit has issued a

stay and this Court’s Judgment remains in full effect. Having fulfilled its “province

and duty … to say what the law is,” Marbury v. Madison, 5 U.S. 137, 177 (1803),

this Court should be able to “presume[] that officials of the Executive Branch will

adhere to the law as declared by the court.” Comm. on Judiciary of U.S. House of

Reps. v. Miers, 542 F.3d 909, 911 (D.C. Cir. 2008).

      Here, however, Defendants have put these basic and foundational legal

principles to the test. Plaintiffs now are in the unfortunate position of having to come

back before the Court to request that the Court enforce its Judgment or, in the

alternative, provide clarification as to the scope of the relief granted.




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                          FACTUAL BACKGROUND

       A. Procedural History

      This case was filed on September 7, 2022, alleging that the Rule unlawfully

discriminated against Florida transgender Medicaid beneficiaries, like Plaintiffs, in

violation of the Equal Protection Clause of the Fourteenth Amendment Section 1557

of the Patient Protection and Affordable Care Act (“ACA”), and the Medicaid Act’s

EPSDT and Comparability Requirements. Dkt. No. 1.

      Following extensive discovery, the case proceeded to trial beginning on May

9, 2023. Dkt. No. 241. Over seven days, the Court heard testimony from Plaintiffs,

experts, and fact witnesses. See Dkt. Nos. 226-28, 238-40, 241, 242. During the

course of the bench trial, Florida Statutes § 286.31(2) was enacted on May 17, 2023;

Plaintiffs moved to amend their Complaint on May 18, 2023, to include § 286.31(2)

within their challenge. Dkt. No. 231. The Court granted such leave on May 20,

2023. Dkt. No. 237.

      Following the conclusion of the trial, the Court issued its Findings of Fact and

Conclusions of Law on June 21, 2023, finding for Plaintiffs on each of their claims

as they pertained to puberty-delaying medications and gender-affirming hormones

and declaring that: “Florida Statutes § 286.31(2) and Florida Administrative Code

rule 59G-1.050(7) are invalid to the extent they categorically ban Medicaid payment

for puberty blockers and cross-sex hormones for the treatment of gender dysphoria.”


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Dkt. No. 246 (emphasis added). The next day the Court entered its Judgment. Dkt.

No. 247.

       B. Defendants’ Actions Defying the Court’s Decision.

      Since the decision and subsequent Judgment was issued, Defendants have

continued to apply and enforce the Rule as if this Court never entered Judgment

against them. Specifically, Defendants have: (1) categorically denied coverage for

medically necessary gender-affirming care for transgender Floridians; (2) ordered

Florida MCO’s to cease and desist providing coverage for medically necessary

gender-affirming medical care; (3) publicly committed to enforcing the rule, even

though this Court found it invalid; and (4) demanded at least one medical institution

refund money to AHCA for services related to the provision of gender-affirming

care (from August 21, 2022 to present). This conduct is flatly contrary to this Court’s

decision and its Judgment.

              1) Denials of coverage following the Court’s Decision.

      On August 18, 2023, AHCA, through one of the MCOs, Simply Healthcare,

sent at least one transgender Medicaid beneficiary a Notice of Adverse Benefit

Determination, denying coverage for a previously authorized and covered

medication for the treatment of gender dysphoria. See Ex. A, Declaration of Cece

Suarez. The Notice states that coverage for the prescription “DELESTROGEN

100MG/5 ML VIAL” has been reviewed and “this service has been TERMINATED



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as of 8/18/23.” The basis for the termination of benefits is stated as: “The requested

service is not a covered benefit.” Ex. A, Attachment 1 (Notice of Adverse Benefit

Determination from Simply Healthcare) (emphasis in original).

      Similarly, on September 30, 2023, a transgender Medicaid beneficiary was

notified that his MCO, Sunshine Health, denied coverage for his previously

authorized and covered medication for the treatment of gender dysphoria. See Ex.

B, Declaration of Kandle Starr. The statement provided to Mr. Starr stated that the

“Rejection Code/Reason” for the denial of coverage for his prescription of

Norethindrone (a form of hormone treatment) was “THIS PRODUCT IS NOT

COVERED FOR MEMBERS WITH A GENDER IDENTITY DIAGNOSIS OR

RELATED DIAGNOSIS.”            Ex. B, Attachment 1 (Rejection Message from

Sunshine Health Plan).      The statement also indicated that the pharmacy had

attempted to adjudicate the claim for coverage seven (7) times. Id. Mr. Starr is 19

years old and cannot afford to pay the $203.99 out-of-pocket expense for the

hormone medication prescribed by his treating physician as necessary treatment for

his gender dysphoria. Id.

              2) Defendants sent cease-and-desist letters to MCOs ordering them
                 to not cover any gender-affirming medical care.

      On August 17, 2023, Defendant AHCA sent “cease and desist” letters to five

Florida MCOs assessing fines, liquidated damages, and monetary sanctions against

the plans for violations of Rule 59G-1.050 and directing the MCOs to cease and

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desist further violations of the Rule. See Composite Addendum 1 (Letters from

AHCA to Simply Healthcare Plans, Sunshine State Health Plan, Humana Medical

Plan, Molina Healthcare of Florida, and Children’s Medical Services (CMS) Health

Plan), to Ex. C, Declaration of Omar Gonzalez-Pagan. Among other things, these

letters include the following language:

      The Plan “must immediately cease and desist from violating Rule
      59G-1.050, F.A.C. Further violations will be subjection to sanctions
      under the Contract and will be considered a knowing and willful
      violation pursuant to Section 409.912(4), Florida Statutes. Please
      confirm in writing no later than five days following receipt of this
      letter that CMS Plan has ceased coverage of the services listed in
      Rule 59G-1.010, F.A.C., for the treatment of gender dysphoria.”

 See Composite Addendum 1 (AHCA Letters to MCOs) to Ex. C, each at p. 3

 (emphasis in original). These letters are in direct violation of the Court’s rulings

 in this case, which declared that the Rule is unconstitutional and unlawful, and

 therefore invalid. Plaintiffs ask this Court to make clear to Defendants that

 sending communications instructing MCOs to comply with the Rule is a violation

 of the Judgment, and is unlawful.

              3) Defendants publicly declare they will continue to enforce the
                 Invalid Rule, despite the Court’s Decision.

      On August 18, 2023, Defendant Secretary Jason Weida appeared as a guest

 on the Daily Wire Podcast to discuss AHCA’s decision to fine healthcare providers

 for funding gender-affirming medical care, including warning that his office




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    “would consider more drastic penalties for any further violations.”1 Defendant

    Weida stated “[t]hese plans recklessly continued to cover these services with

    permanent, harmful effects, after the rule was adopted. [They] will not stand in the

    way of our fight to protect the innocence of Florida’s kids.” Id.

             The article about the podcast interview with Defendant Weida goes on to

    state:

             Simply Healthcare, the provider that covered the mastectomy, is facing
             a $30,000 penalty and will be sanctioned. The other providers face
             smaller, unspecified fines, but the non-willful sanction is the more
             serious penalty as it places a black mark on a provider’s record that
             must be disclosed when it competes for contracts. Providers who have
             been sanctioned are much less likely to be awarded other state contracts
             for 10 years until the sanction expires. According to the Agency for
             Healthcare Administration, Simply Health has already replaced the
             team that approved the mastectomy coverage.

Id. Defendant Weida told the Daily Wire that he is “grateful Governor Ron

DeSantis empowered his office to issue the rule blocking public money from going

to” gender-affirming medical care. Id.

              Defendant Weida likewise provided an interview to the Daily Signal, the

    contents of which are captured in an article published on August 18, 2023 titled:


1
  See Podcast Episode: FL Trans Treatment Fines & Homelessness Rises 8.18.23,
MorningWire (August 18, 2023), https://www.dailywire.com/podcasts/morning-
wire/fl-trans-treatment-fines-homelessness-rises-8-18-23; see also Megan Basham,
“Exclusive: Florida Fines Medicaid Providers for Using Tax Dollars to Cover Trans
Treatments       for    Minors,”      DailyWire.com     (August     18,    2023),
https://www.dailywire.com/news/exclusive-florida-fines-medicaid-providers-for-
using-tax-dollars-to-cover-trans-treatments-for-minors.

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    “Florida Becomes First State to Sanction Medicaid Providers for Covering Minor

    Transitions.”2 Defendant Weida stated: “Given the notice that they are on now,

    with the rule being passed last year, and now that we have this audit and the letters

    and this discipline, any type of violation going forward would be deemed an

    Intentional violation and would be subject to very severe consequences.” Id.

          The article quotes Defendant Weida saying: “We are also issuing fines

    against four other Medicaid plans that used public dollars to support prescription

    drugs used for gender dysphoria.” Id. In his interview, Defendant Weida praised

    Governor Ron DeSantis for taking “concrete steps” within Florida to protect “the

    innocence of our children.” Id.

          An email from Defendant AHCA to a local reporter who inquired about

    these statements in light of the Court’s Judgment stated that the Rule “continues

    being in effect within the parameters outlined by the District Court.” Id. The

    email further states that “the rule can’t serve as a categorical ban because it isn’t

    one.” Id. To be sure, that is false. The Rule in fact does categorically bans

    coverage for puberty blockers and hormones as treatment for gender dysphoria,

    and Defendants’ communications and warnings to MCOs clearly treat it as a



2
  Mary Margaret Olohan, “Florida Becomes First State to Sanction Medicaid
Providers for Covering Minor Transitions,” The Daily Signal (August 18, 2023),
https://www.dailysignal.com/2023/08/18/florida-becomes-first-state-to-sanction-
medicaid-providers-for-covering-minor-transitions/.

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 categorical ban.

       In short, the denials of coverage and instructions to MCOs are categorical,

 and Defendants have announced their intent to continue to enforce this categorical

 ban on Medicaid coverage of puberty blockers and hormones as treatment for

 gender dysphoria despite this Court having deemed it unconstitutional and

 unlawful.

              4) Defendants demand refunds from providers who have provided
                 gender-affirming medical services.

      On August 23, 2023, University of Miami physicians received an email that

outlined actions taken by Defendant AHCA against the University of Miami related

to alleged violations of the Challenged Exclusion. See Ex. D, Declaration of Dr.

Lydia Fein. In the email, physicians are informed that AHCA amended the Gender

Medicaid Policy rule to exclude treatments of gender dysphoria, and “as a result, our

office has been compelled to refund any Medicaid and Medicaid Managed Care

reimbursement for services related to the provision of gender affirming care as of

the effective date of the regulation (August 21, 2022) to present.”           Ex. D,

Attachment 1 (Email from University of Miami, subject line: “FW: Notice on

Florida’s Ban on Medicaid Coverage on Gender Affirming Care”) (emphasis added).

The email continues to state: “Consequently, for the foreseeable future, and until any

further notice on the status/overturn of the current policy, we ask that you please

abstain from billing Medicaid or any Medicaid Managed care plan for any implicated

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services.”      Id. This has resulted in University of Miami providers canceling

appointments for any transgender patient seeking gender-affirming medical care as

treatment for gender dysphoria and who is covered by Florida Medicaid. See Ex. D,

at ¶ 6.

                                  LEGAL STANDARD

          “A district court has the power to issue an order requiring the parties to carry

out the terms of an earlier order.” S.E.C. v. Hermil, Inc., 838 F.2d 1151, 1153 (11th

Cir. 1988); see also Flaherty v. Pritzker, 17 F. Supp. 3d 52, 55 (D.D.C. 2014)

(“District courts have the authority to enforce the terms of their mandates.”). That

authority is grounded in “the interest of the judicial branch in seeing that an

unambiguous mandate is not blatantly disregarded by parties to a court proceeding.”

Int’l Ladies’ Garment Workers’ Union v. Donovan, 733 F.2d 920, 922 (D.C. Cir.

1984). “The usual method for having the court interpret its judgment is to file a

motion to enforce the judgment.” Hermil, 838 F.2d at 1153. “[A]n appeal does not

automatically stay the enforcement of a judgment.” U.S. Commodity Futures

Trading Comm’n v. Escobio, 946 F.3d 1242, 1251 (11th Cir. 2020) (citing Wright

& Miller, 16A Fed. Prac. & Proc. Juris. § 3954 (5th ed. 2019)). Rather, “[a]bsent

entry of a stay, a district court retains jurisdiction to enforce its judgment—via

contempt or other means—during the pendency of an appeal.” Escobio, 946 F.3d at

1251.


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        The court should grant a motion to enforce if a “prevailing plaintiff

demonstrates that a defendant has not complied with a judgment entered against it.”

Heartland Hosp. v. Thompson, 328 F. Supp. 2d 8, 11 (D.D.C. 2004). Included within

“a court’s power to administer its decrees is the power to construe and interpret the

language of the judgment.” Id. at 11–12 (citing Hermil, 838 F.2d at 1153).

                                      ARGUMENT

   I.      Plaintiffs Have a Judicially Cognizable Interest in Ensuring
           Compliance with the Court’s Decision and Judgment.

        It is well settled that “[a] party that obtains a judgment in its favor acquires a

‘judicially cognizable’ interest in ensuring compliance with that judgment.”

Salazar v. Buono, 559 U.S. 700, 712 (2010). Here, through the Court’s Judgment,

Plaintiffs acquired a right to have Defendants refrain from any enforcement of

“Florida Statutes § 286.31(2) and Florida Administrative Code rule 59G-1.050(7)

… to the extent they categorically ban Medicaid payment for puberty blockers and

cross-sex hormones for the treatment of gender dysphoria,” Dkt. No. 246 at 53. See

Allen v. Wright, 468 U.S. 737, 763 (1984), abrogated on other grounds by Lexmark

Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014). This acquired

interest is “judicially cognizable because it was a personal interest, created by law,

in having the State refrain from taking specific actions.” Allen, 468 U.S. at 763.

        “Having obtained a final judgment granting relief on their claims,” Plaintiffs

have “standing to seek its vindication.” Salazar, 559 U.S. at 712.

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  II.     Defendants are violating this Court’s Judgment by enforcing the
          Rule’s categorical ban on Medicaid coverage of gender-affirming
          medical care.

        In its decision, the Court found that “Florida has adopted a rule and statute

that prohibit Medicaid payment for these treatments even when medically

appropriate,” and held that “[t]he rule and statute violate the federal Medicaid

statute, the Equal Protection Clause, and the Affordable Care Act's prohibition of

sex discrimination.” Dkt. No. 246, at 52-53. As such, among other things, the

Court “declared that Florida Statutes § 286.31(2) and Florida Administrative Code

rule 59G-1.050(7) are invalid to the extent they categorically ban Medicaid

payment for puberty blockers and cross-sex hormones for the treatment of gender

dysphoria.” Id., at 53.

        And, of course, “[a]n unconstitutional act [like the Rule] is not a law; it

binds no one, and protects no one.” Little Rock & Ft. S. Ry. v. Worthen, 120 U.S.

97, 101–02 (1887); see also Coral Springs St. Sys., Inc. v. City of Sunrise, 371

F.3d 1320, 1334 (11th Cir. 2004) (“There is no question that an unconstitutional

statute is void under state law.”).

        Nonetheless, notwithstanding this Court’s decision, Defendants have

continued to enforce the Rule’s categorical ban on Medicaid coverage of puberty

delaying medications and gender-affirming hormones as treatment for gender

dysphoria.



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      For example, citing to the Rule, Defendants told MCOs two months after

this Court’s decision was issued, in categorical terms, that “Florida Medicaid

does not cover the following services for the treatment of gender dysphoria:

puberty blockers, hormones and hormone antagonists … and any other procedures

that alter primary or secondary sexual characteristics” and that “for the purpose of

determining medical necessity, including Early and Periodic Screening,

Diagnosis, and Treatment (EPSDT), these services do not meet the definition of

medical necessity in accordance with Rule 59G-1.010, F.A.C.” Addendum 1 to

Ex. C, at 1 (emphasis added).

      Similarly, Defendants also categorically denied transgender Medicaid

beneficiaries like Ms. Suarez and Mr. Starr. They denied Ms. Suarez Medicaid

coverage for hormone treatment for her gender dysphoria on the basis that it is

“not a covered benefit.” Ex. A, Attachment 1. Defendants similarly denied Mr.

Starr Medicaid coverage for hormone treatment for her gender dysphoria on the

basis that the medication “is not covered for members with a gender identity

diagnosis or related diagnosis.” Ex. B, Attachment 1. These are not situations

where Defendants’ contractors, reviewed Ms. Suarez’s and Mr. Starr’s individual

circumstances to determine whether hormone treatment was medically necessary

for them and then found that Ms. Suarez and Mr. Starr, based on their individual

medical needs, did not need the treatment requested. See Rush v. Parham, 625 F.


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2d 1150, 1155 (5th Cir. 1980). Rather, Defendants have made clear that they will

not cover the benefit of hormone treatment to treat gender dysphoria even when it

is medically necessary.

      Defendants have thus acted as if this Court’s decision is a legal nullity that

they can simply ignore on their whim. That is not how our legal system works,

however. “It is simply an illegal act upon the part of a state official in attempting,

by the use of the name of the state, to enforce a legislative enactment which is void

because unconstitutional.” Ex parte Young, 209 U.S. 123, 159 (1908).

      Defendants may argue that because there is a variance and waiver process

for administrative rules (see Fla. Stat. § 120.542; Fla. Admin. Rules 28-104.001 –

28-104.006), the Rule is not categorical and therefore they are not prohibited from

enforcing it. That is a red herring. In over nine months of litigation, Defendants

failed to develop that argument or present any supporting evidence; rather, they

alluded to the supposed variance process as a throwaway point only twice over the

course of the entire case: at the end of the hearing on Plaintiffs’ Motion for a

Preliminary Injunction, and at the very end of trial. Conspicuously absent from

trial was any evidence that a single variance was approved for treatment that

AHCA has (wrongly) determined is experimental and never medically necessary.

      Moreover, Defendants own communications to MCOs and Notices of

Adverse Benefit Determinations to transgender Medicaid beneficiaries also make


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    no reference to case-by-case determinations for coverage of gender-affirming

    medical care. See Exs. A, B, and C. To the contrary, these communications,

    based on and citing to the Rule, are categorical in nature and do not communicate

    the existence or availability of any exceptions or waivers.

          What is more, Defendant Weida’s own statements are similarly

    unequivocal, making clear that Defendants will not cover this medical care, period.

    See Section B(3), supra.

          Finally, the term categorical is defined as “absolute, unqualified.” See

    categorical,      Merriam-Webster         Dictionary,         https://www.merriam-

    webster.com/dictionary/categorical (accessed Sept. 25, 2023). The Rule, on its

    face, categorically excludes from Medicaid coverage all gender-affirming medical

    treatment, including puberty-delaying medications and hormones. And, on its

    face, the Rule has no exceptions.3


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  The existence of the waiver-and-variance process for administrative rules to which
Defendants have alluded to in the past does not make the Rule at issue here non-
categorical. For one, there is no evidence, and after nine months of discovery,
Defendants presented no argument that the waiver-and-variance process for
administrative rules operates to make medical necessity determinations when the
agency has determined that a particular medical treatment is never medically
necessary. Indeed, the process is meant to grant waivers that will serve the purpose
of the underlying statute and rule. For another, the Rule, at a minimum, categorically
singles out gender-affirming medical care for denials in the first instance,
notwithstanding medical necessity.

      Taken to its logical conclusion, Defendants could evade any legal
requirements set forth by federal law by adopting an unlawful rule and simply

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          Here, Plaintiffs facially challenged the Rule and the Court ruled in no

 uncertain terms that the Rule “violate[s] the federal Medicaid statute, the Equal

 Protection Clause, and the Affordable Care Act’s prohibition of sex

 discrimination.”    Dkt. No. 246, at 53.      That is enough to communicate to

 Defendants that they may not enforce the Rule in any way. Indeed, the Court’s

 decision “relates to conduct that the court concluded was unlawful” rather than

 merely to “particular statutory provisions.” One Wisc. Inst. v. Thomsen, 351 F.

 Supp. 3d 1160, 1162 (W.D. Wisc. 2019).

          Accordingly, Plaintiffs respectfully ask this Court to grant the instant

 motion and enforce its Judgment by instructing Defendants that the Court’s

 declaratory relief prevents them from enforcing the Challenged Exclusion, and by

 issuing any other remedial relief it believes appropriate.

   III.     In the Alternative, the Court Should Clarify that Its Decision
            Prevents Defendants from Enforcing the Rule Against Anyone.

      While Plaintiffs believe the Findings of Fact and Conclusions of Law and

resulting Judgment are clear, in the alternative, Plaintiffs request that this Court

clarify its Judgment to make clear that Defendants cannot enforce the Challenged

Exclusion against anyone. The Court can do so by clarifying the scope of its

declaratory relief, or by expanding the scope of its injunctive relief.


arguing that there is also a waiver-and-variance process. Of course, that cannot be
the law.

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      With regards to expanding the scope of injunctive relief, in civil rights cases

“injunctive relief may benefit non-parties as well as parties.”        Carmichael v.

Birmingham Saw Works, 738 F.2d 1126, 1136 (11th Cir. 1984); see also Bresgal v.

Brock, 843 F.2d 1163, 1171 (9th Cir. 1987) (“Class-wide relief may be appropriate

even in an individual action.”); Garcia v. Stillman, No. 22-CV-24156, 2023 WL

5095540, at *20 (S.D. Fla. Aug. 9, 2023) (permanently enjoining Defendants from

enforcing Article II, Section 8(f)(2) of the Florida Constitution, without limitation).

      Indeed, in Garrido, a case brought by a single individual, the district court

permanently enjoined AHCA “from enforcing Florida Behavioral Health Rule 2–1–

4 as it relates to autism, Autism Spectrum Disorder, and Applied Behavioral

Analysis treatment.” K.G. ex rel. Garrido v. Dudek, 864 F. Supp. 2d 1314, 1327

(S.D. Fla. 2012), aff’d in part, rev'd in part sub nom. Garrido v. Dudek, 731 F.3d

1152 (11th Cir. 2013). The Eleventh Circuit spoke with approval of this aspect of

the district court’s permanent injunction when it held that “the district court did not

abuse its discretion in issuing a permanent injunction that overrules AHCA’s

determination that ABA is experimental (and AHCA's larger determination that

ABA is never medically necessary) and requires Medicaid coverage of this

treatment.” Garrido, 731 F.3d at 1160.




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                                 CONCLUSION

      Defendants have continued to enforce a Rule that the Court has determined

“violate[s] the federal Medicaid statute, the Equal Protection Clause, and the

Affordable Care Act’s prohibition of sex discrimination” and is therefore

“invalid.” Dkt. No. 246, at 53. Accordingly, Plaintiffs respectfully request that the

Court enforce its Judgment, as well as its Findings of Fact and Conclusions of

Law, by instructing Defendants that the Court’s declaratory relief prevents them

from enforcing Rule 59G-1.050(7) of the Florida Administrative Code and issuing

any other remedial relief it believes appropriate.

      In the alternative, Plaintiffs respectfully request that the Court clarify its

decision and order to make clear that the Rule, as adopted, is unlawful, or grant

broader injunctive relief preventing Defendants from enforcing the Challenged

Exclusion.

      Dated this 4th day of October 2023.




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Respectfully submitted,

/s/ Omar Gonzalez-Pagan                 /s/ Simone Chriss
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                           CERTIFICATE OF CONFERRAL

      Pursuant to Local Rule 7.1(D), Counsel for Plaintiffs certifies they conferred

with Defendants’ counsel via email, including communications on September 25,

26, 27, and October 2, 2023. Defendants have not indicated their position on

Plaintiffs’ motion.

                       CERTIFICATE OF WORD COUNT

      As required by Local Rules 7.1(F), I certify that this Motion and

Memorandum of Law contains 4,168 words.

                           CERTIFICATE OF SERVICE

      I hereby certify that on this 4th day of October 2023, a true copy of the

foregoing has been filed with the Court utilizing its CM/ECF system, which will

transmit a notice of electronic filing to counsel of record for all parties in this matter

registered with the Court for this purpose.

                                                 /s/ Omar Gonzalez-Pagan         d
                                                  Counsel for Plaintiffs




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